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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 WAYCROSS DIVISION

UNITED STATES OF AMERICA                       )   CASE# 5:21CR00009
                                               )
vs.                                            )
                                               )
                                               )
Charles Michael King                           )
       Defendant

                     UNOPPOSED MOTION TO PERMIT TRAVEL
         Comes now, the above named defendant, Charles Michael King and files this

UNOPPOSED Motion to permit travel and shows the Court the following:

      a. Charles Michael King is currently on a pretrial release in the above-referenced case.

      b. An order setting conditions of release was signed by Judge Benjamin W. Cheesbro on

         November 23, 2021. [Document 126]

      c. Under the additional conditions of release section in the order setting conditions of

         release [Document 126], in paragraph 7, subsection (f): “Travel is Restricted to the

         Southern District of Georgia”

      d. Defendant respectfully requests to be able to travel to accompany a family member to

         attend the National Championship Football game in Inglewood, California.

      e. The defendant respectfully requests leave to travel January 8, 2023 and return January 10,

         2023.

      f. The defendant would be flying out of Gainesville, Florida and flying into San Diego, then

         traveling by car with his stepson to Inglewood California.

      g. The Defendant would be staying at the Fairfield Inn & Suites San Diego Pacific Beach,

         located at 4345 Mission Bay Drive, San Diego, CA USA 92109.
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   h. Defendant’s counsel has conferred with Assistant United States Attorney Tania Groover

       and this motion is unopposed by the Government.

   i. The defendant is not asking to modify any other conditions of pretrial release and

       Defendant will continue to abide by all conditions of pretrial release as ordered.



       WHEREFORE, the defendant, Charles Michael King prays that his Motion to Permit

Travel be Granted and he be permitted to travel to watch the Georgia Bulldogs play in the 2023

National Championship at Sofi Stadium in Inglewood, California



Respectfully submitted this 6th day of January 2023




                                                            /S/Jack M. Downie Sr.
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
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UNITED STATES OF AMERICA                       )   CASE# 5:21CR00009
                                               )
vs.                                            )
                                               )
                                               )
Charles Michael King                           )



                                  CERTIFICATE OF SERVICE

This is to certify that I have on this day served all the parties in this case in accordance with the

directives from the Court Notice of Electronic Filing ("NEF") which was generated as a result of

electronic filing.




Respectfully submitted this 6th day of January 2023




                                                               /S/Jack M. Downie
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